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 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant
 5   BRANDIE LYNN PIEDMONT
 6
 7                                  UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )               Case No. 1: 06 CR 00379 OWW
                                      )
11          Plaintiff,                )                WAIVER OF APPEARANCE
                                      )                AND ORDER THEREON
12               v.                   )
                                      )                 DATE: September 4, 2007
13   BRANDIE LYNN PIEDMONT,           )                 TIME: 9:00 a.m.
                                      )                 PLACE: Courtroom Three
14          Defendant.                 )
     _________________________________)                 HONORABLE OLIVER W. WANGER
15
16           Defendant, BRANDIE LYNN PIEDMONT, hereby waives her right to be present in
17   person in open court upon the hearing presently set for September 4, 2007 at 9:00 a.m. in
18   Courtroom Three of the above entitled court. Defendant hereby requests the court to proceed in
19   her absence and agrees that her interests will be deemed represented at said hearing by the
20   presence of her attorney, JOHN F. GARLAND. Defendant further agrees to be present in person
21   in court at all future hearing dates to be set by the court including the date set for jury trial.
22
23   Dated: August 24, 2007                                        /s/ Brandie Lynn Piedmont
                                                                  BRANDIE LYNN PIEDMONT
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 1                                     ORDER
 2
 3         Good cause appearing,
 4          IT IS HEREBY ORDERED that defendant BRANDIE LYNN PIEDMONT is hereby
 5   excused from appearing at the court hearing scheduled for September 4, 2007 at 9:00 a.m.
 6 IT IS SO ORDERED.
 7 Dated: August 27, 2007                          /s/ Oliver W. Wanger
   emm0d6                                     UNITED STATES DISTRICT JUDGE
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